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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10                                 ----oo0oo----

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12   UNITED STATES OF AMERICA,                No. 2:18-cv-399 WBS AC
13                 Plaintiff,

14        v.                                  MEMORANDUM & ORDER RE: MOTION
                                              TO DISMISS
15   CHRISTIAN ORIBELLO EGUILOS,

16                 Defendant.

17

18                                 ----oo0oo----

19               This court must once again dispel the commonly held

20   misconception that all American citizens are afforded the same

21   rights of citizenship.     See United States v. Dang, No. 2:01-cv-

22   1514 WBS DAD, 2004 WL 2731911, at *1 (E.D. Cal. Nov. 15, 2004).

23   Through the denaturalization process, Congress has created two

24   distinct classes of American citizens.        The first class of

25   citizens includes those whose mothers happened to be physically

26   present in the United States, whether legally or illegally, at

27   the moment they were born, and those whose parents were American

28   citizens.   See 8 U.S.C. § 1401 et seq.       These citizens are
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 1   forever secure in their citizenship.        It can never be taken from

 2   them, no matter what they may have done in the past or what they

 3   may do in the future.

 4              The second class of citizens, and the focus of this

 5   case, consists of those individuals who acquire their citizenship

 6   through naturalization.      See 8 U.S.C. § 1421 et seq.      To even

 7   qualify for naturalization, an individual must meet a long list

 8   of criteria.    They must wait at least five years after

 9   establishing permanent residency, pass a citizenship test,

10   truthfully answer questions posed by United States Citizenship

11   and Immigration Services (“USCIS”), be a person of good moral

12   character, and swear allegiance to the Constitution.          These

13   requirements, unique to those applying for naturalization,

14   demonstrate only the beginning of the substantial burdens this

15   country places on these second-class citizens.

16              Once a naturalized citizen completes this arduous

17   process, their American citizenship still hangs in the balance,

18   at the mercy of government officials.        The government can always

19   initiate proceedings to revoke a naturalized individual’s

20   citizenship if it believes that the naturalization was illegally
21   procured or procured by concealment of a material fact or by

22   willful misrepresentation.      For instance, USCIS always asks a

23   prospective citizen whether they have “EVER committed . . . a

24   crime or offense for which [they] were NOT arrested.”          Form N-

25   400, Application for Naturalization 14 (2016), online at

26   https://www.uscis.gov/n-400 (last visited April 12, 2019)
27   (emphasis in original).      The scope of the question by itself is

28   alarming and sets a trap for the unwary applicant.          Given the
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 1   thousands of possible offenses an individual can commit each day,

 2   no applicant can answer this question truthfully without

 3   jeopardizing their entire application and risking self-

 4   incrimination.    See OFFENSE, Black's Law Dictionary (10th ed.

 5   2014) (defining an offense as “[a] violation of the law; a crime,

 6   often a minor one.”).     Nevertheless, a false answer gives the

 7   government nearly limitless leverage over the naturalized

 8   individual’s citizenship.      As the aforementioned question is

 9   often repeated during an individual’s citizenship interview, the

10   government can argue that such false testimony means that the

11   individual never possessed the requisite good moral character for

12   citizenship.    See 8 U.S.C. § 1101(f)(6).      Or the government can

13   simply claim that an untruthful answer caused the individual’s

14   naturalization to be illegally procured by concealment or willful

15   misrepresentation.     See 8 U.S.C. § 1451(a).

16              And this boundless discretion means that these second-

17   class citizens can never feel entirely secure in their claim to

18   American citizenship.     As Chief Justice Roberts aptly observed,

19   nothing stops the government from instituting these proceedings

20   at any time, even some decades after a citizen is naturalized.
21   Tr. of Oral Argument at 27–28, Maslenjak v. United States, 137

22   S.Ct. 1918 (2017) (No. 16-309).       There is also no assurance that

23   the government will always institute these proceedings fairly, as

24   it may it may harbor any number of ulterior motives.          For

25   example, during the McCarthy Era, the government frequently

26   sought to denaturalize citizen-members of the Communist Party in
27   an attempt to suppress their political beliefs.         See, e.g.,

28   Chaunt v. United States, 364 U.S. 350, 351 (1960) (attempting to
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 1   denaturalize the defendant on the grounds that he did not have

 2   “the requisite attachment to the Constitution” because of his

 3   membership in the Communist Party); Schneiderman v. United

 4   States, 320 U.S. 118, 121 (1943) (alleging fraudulent procurement

 5   in naturalization where the defendant concealed “his Communist

 6   affiliation” from the naturalization court).         And once the

 7   government starts the denaturalization process, these civil

 8   proceedings are replete with procedural shortcomings given the

 9   important right at stake.      See Cassandra Robertson & Irina Manta,

10   (Un)Civil Denaturalization, 94 N.Y.U. L. Rev. (forthcoming 2019)

11   (manuscript at 49-54), https://bit.ly/2uMeBow (cataloguing the

12   due process deficiencies of civil denaturalization).          Defendants

13   often do not have the right to a court-appointed attorney nor the

14   money to hire one.     It is within this unfortunate backdrop that

15   this matter comes before the court as the defendant in this case,

16   Christian Oribello Eguilos, is part of this second class of

17   American citizens.

18   I.   Factual and Procedural Background

19              Defendant Christian Eguilos is a native of the

20   Philippines.    (Compl. ¶ 12 (Docket No. 1).)       He became a
21   permanent resident of this country on July 28, 2003.          (Id.)     In

22   July 2013, defendant filed an application for naturalization with

23   USCIS.   (Compl. Ex. D (Docket No. 1-1).)       As part of his

24   application, which he signed under the penalty of perjury,

25   defendant represented that he had not committed a crime or

26   offense for which he had not been arrested.         (Id.)   Later, in
27   October 2013, Isagani Acance, an immigration officer with USCIS,

28   interviewed defendant concerning his eligibility for
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 1   naturalization.    (Compl. ¶ 18.)     During the interview and under

 2   oath, defendant again responded that he had not committed a crime

 3   or offense for which he had not been arrested.         (Id. ¶¶ 20-21.)

 4   USCIS subsequently approved defendant’s naturalization

 5   application.     (Id. ¶ 26.)    Defendant then signed the provided

 6   notice of a naturalization oath ceremony and indicated that he

 7   had not committed any crime or offense since his interview.           (Id.

 8   ¶ 29; Compl. Ex. E.)     On November 6, 2013, defendant took the

 9   oath of allegiance to become a citizen, and USCIS issued him a

10   certificate of naturalization that same day.         (Compl. ¶ 32;

11   Compl. Ex. F.)

12                Fourteen months later, on January 2, 2015, the State of

13   California filed a felony complaint charging defendant with

14   fourteen counts of criminal offenses relating to the sexual abuse

15   of minors.    (Compl. Ex. C.)    Later that year, pursuant to a plea

16   agreement, defendant pled nolo contendere before the Los Angeles

17   County Superior Court to four counts of forcible lewd acts upon a

18   child in violation of California Penal Code § 288(b)(1).1           (Id.;

19   Compl. Ex. B.)     The four counts covered conduct between January

20   2011 and December 2014.      The Superior Court accepted defendant’s
21   plea, found him guilty on those four counts, sentenced him to

22   forty years in prison, and ordered him to register as a sex

23   offender for the rest of his life.       (Compl. ¶ 11; Compl. Ex. B.)

24                On February 22, 2018, the United States brought this

25   action to revoke and set aside defendant’s citizenship and cancel

26        1    All references Cal. Penal Code § 288 refer to the then-
27   applicable version of the statute at the time of defendant’s
     conviction, unless noted otherwise. This version of the statute
28   was effective from September 9, 2010 to January 1, 2019.
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 1   his certificate of naturalization under the Immigration and

 2   Naturalization Act (“INA”), 8 U.S.C. § 1451(a).           The court

 3   appointed the Office of the Federal Defender as counsel of record

 4   for defendant.      (Docket No. 19.)       Defendant now moves to dismiss

 5   the complaint against him in full.           (Docket No. 20.)

 6   II.    Discussion

 7         A.    Legal Standard

 8               On a Rule 12(b)(6) motion, the inquiry before the court

 9   is whether, accepting the allegations in the complaint as true

10   and drawing all reasonable inferences in the plaintiff’s favor,

11   the plaintiff has stated a claim to relief that is plausible on

12   its face.    See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).           “The

13   plausibility standard is not akin to a ‘probability requirement,’

14   but it asks for more than a sheer possibility that a defendant

15   has acted unlawfully.”       Id.   “A claim has facial plausibility

16   when the plaintiff pleads factual content that allows the court

17   to draw the reasonable inference that the defendant is liable for

18   the misconduct alleged.”       Id.   A complaint that offers mere

19   “labels and conclusions” will not survive a motion to dismiss.

20   Id. (internal quotation marks and citations omitted).
21         B.    Denaturalization Under 8 U.S.C. § 1451

22               The denaturalization statute, 8 U.S.C. § 1451, directs

23   courts to revoke a citizen’s naturalization if naturalization was

24   “illegally procured” or “procured by concealment of a material

25   fact or by willful misrepresentation.”           Id. § 1451(a).   The

26   government bears the burden of proof in denaturalization
27   proceedings.     See Fedorenko v. United States, 449 U.S. 490, 505

28   (1981).     And the evidence justifying revocation of citizenship
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 1   must “be clear, unequivocal, and convincing and not leave the

 2   issue in doubt.”    Id. at 517 (citations omitted).        “[O]nce a

 3   district court determines that the Government has met its burden

 4   of proving that a naturalized citizen obtained his citizenship

 5   illegally or by willful misrepresentation, it has no discretion

 6   to excuse the conduct.”      Id. (emphasis added).

 7               “No alien has the slightest right to naturalization

 8   unless all statutory requirements are complied with.”          United

 9   States v. Ginsberg, 243 U.S. 472, 475 (1917).         “Failure to comply

10   with any [congressionally imposed] conditions renders the

11   certificate of citizenship illegally procured, and naturalization

12   that is unlawfully procured can be set aside.”         Fedorenko, 449

13   U.S. at 506.    Section 316(a) of the INA, 8 U.S.C. § 1427(a),

14   provides that no person shall be naturalized unless that person

15   has demonstrated “good moral character” for at least five years

16   prior to the time of his application for citizenship.          Section

17   101(f) of the INA, 8 U.S.C. § 1101(f), enumerates several

18   specific classes of persons who are precluded from establishing

19   “good moral character” for purposes of naturalization because of

20   conduct ranging from the merely unsavory to the outright
21   criminal.   See 8 U.S.C. § 1101(f)(1)-(8).       The statute also

22   contains a catch-all provision stating that “[t]he fact that any

23   person is not within any of the foregoing classes shall not

24   preclude a finding that for other reasons such person is or was

25   not of good moral character.”      See id.

26               Here, the government seeks to denaturalize defendant on
27   four separate grounds: (1) defendant lacked the good moral

28   character required during the statutory period under 8 U.S.C. §
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 1   1101(f)(3) for the reason that he committed crimes involving

 2   moral turpitude (“CIMT”) during that period (Count One); (2)

 3   defendant’s criminal sexual conduct with a minor was an unlawful

 4   act that precluded him from establishing good moral character

 5   under the catch-all provision of Section 101(f) and 8 C.F.R. §

 6   316.10(b)(3)(iii) (Count Two); (3) defendant provided false

 7   testimony during his naturalization interview when he represented

 8   that he never committed a crime or offense for which he had not

 9   been arrested and therefore lacked good moral character under 8

10   U.S.C. § 1101(f)(6) (Count Three); and (4) defendant procured his

11   naturalization by willfully misrepresenting and concealing his

12   sexual abuse of a child in violation of 8 U.S.C. § 1451(a) (Count

13   Four).

14              1.    Count One: Crime Involving Moral Turpitude

15                    (a)   Elements of Section 101(f)(3) of the INA

16              In order establish that a person lacks good moral

17   character under Section 101(f)(3) of the INA, the government must

18   be able to allege and prove that such person either (i) was

19   convicted of a CIMT, or (ii) admits to having committed a CIMT,

20   during the statutory period.      8 U.S.C. § 1101(f)(3)
21   (incorporating 8 U.S.C. § 1182(a)(2)(A)); see also United States

22   v. Estrada, 349 F. Supp. 3d 830, 835 (D. Ariz. 2018) (same).

23              First, under Federal Rule of Evidence 410 and relevant

24   case law, the government cannot rely on defendant’s state court

25   conviction to prove this count because the conviction resulted

26   from a plea of nolo contendere.       See United States v. Nguyen, 465
27   F.3d 1128, 1131-33 (9th Cir. 2006).       Second, the government

28   conceded at the hearing on this motion that defendant has not
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 1   admitted to committing the acts constituting a violation of Cal.

 2   Penal Code § 288(b)(1).      The government’s argument that it should

 3   be allowed to prove that defendant admits to the crime by getting

 4   him to admit to it in subsequent discovery in this case is

 5   unavailing.    In order to survive a motion to dismiss under Rule

 6   12(b)(6) the government must be able to allege that all the facts

 7   necessary to establish its claim exist.        It cannot rely upon

 8   facts that do not exist at the time the complaint is filed.

 9              Thus, because the government cannot rely upon

10   defendant’s conviction based upon his plea of nolo contendere,

11   and acknowledges that it cannot allege that defendant admits to

12   having committed a CIMT, Count One of the Complaint, based upon

13   Section 101(f)(3) of the INA, must be dismissed for that reason.

14                    (b)   Moral Turpitude

15              As a separate and alternative ground for dismissal of

16   Count One, as counterintuitive as it may seem to the layperson,

17   the court must conclude that a violation of Cal. Penal Code §

18   288(b)(1) does not constitute a CIMT under the applicable law.

19   To determine whether a crime qualifies as a CIMT, courts first

20   apply the categorical approach set forth in Taylor v. United
21   States, 495 U.S. 575 (1990).2      See Ceron v. Holder, 747 F.3d 773,

22   778 (9th Cir. 2014) (en banc).       First, the court must identify

23   the elements of the state statute of conviction--here, Cal. Penal

24   Code § 288(b)(1).      See id.   Second, the court compares those

25   elements to the generic definition of a crime of moral turpitude

26        2    The court performs this analysis on a motion to dismiss
27   because application of the categorical approach is “purely a
     question of law.” See United States v. Martinez-Hernandez, 912
28   F.3d 1207, 1213 (9th Cir. 2019) (citation omitted).
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 1   and decides whether the statute meets that definition.            Id.

 2               To show that a state statute is broader than the

 3   generic federal crime, the defendant “must show that there is a

 4   ‘realistic probability’ that the statute would be applied to acts

 5   not covered by the generic federal statute.”         Linares-Gonzalez v.

 6   Lynch, 823 F.3d 508, 514 (9th Cir. 2016) (citing Gonzales v.

 7   Duenas–Alvarez, 549 U.S. 183, 193 (2007)).         To do so and

 8   demonstrate that there is not a categorical match, the defendant

 9   “must at least point to his own case or other cases in which the

10   state courts in fact did apply the statute in the special

11   (nongeneric) manner for which he argues.”         Duenas-Alvarez, 549

12   U.S. at 193.

13               “[T]he federal generic definition of a CIMT is a crime

14   involving fraud or conduct that (1) is vile, base, or depraved

15   and (2) violates accepted moral standards.”         Saavedra-Figueroa v.

16   Holder, 625 F.3d 621, 626 (9th Cir. 2010); see also Robles-Urrea

17   v. Holder, 678 F.3d 702, 708 (9th Cir. 2012) (CIMTs are

18   “inherently base, vile, or depraved, and contrary to the accepted

19   rules of morality and the duties owed between persons or to

20   society in general.”) (citations omitted).         Non-fraudulent CIMTs
21   “almost always involve an intent to injure someone, an actual

22   injury, or a protected class of victims.”         Turijan v. Holder, 744

23   F.3d 617, 621 (9th Cir. 2014).       To qualify, such acts must be

24   accompanied by a “vicious motive or a corrupt mind” because “evil

25   or malicious intent is . . . the essence of moral turpitude.”

26   Latter-Singh v. Holder, 668 F.3d 1156, 1161 (9th Cir. 2012)
27   (citations omitted).

28               The government alleges that defendant committed a CIMT
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 1   by violating Cal. Penal Code § 288(b)(1).         (Compl. ¶ 49.)

 2   Section 288(a), referenced in (b)(1), provides:

 3         [A]ny person who willfully and lewdly commits any lewd
           or lascivious act . . . upon or with the body, or any
 4         part or member thereof, of a child who is under the
           age of 14 years, with the intent of arousing,
 5         appealing to, or gratifying the lust, passions, or
           sexual desires of that person or the child, is guilty
 6         of a felony.

 7   Section 288(b)(1) provides:
           Any person who commits an act described in subdivision
 8         (a) by use of force, violence, duress, menace, or fear
           of immediate and unlawful bodily injury on the victim
 9         or another person, is guilty of a felony and shall be
           punished by imprisonment in the state prison for 5, 8,
10         or 10 years.
11               Reading these two provisions together, a crime under
12   Section 288(b)(1) contains the following elements: (1) willfully
13   and lewdly; (2) committing any lewd or lascivious act; (3) on a
14   child who is under the age of 14 years; (4) with the intent of
15   arousing, appealing to, or gratifying the lust, passions or
16   sexual desires of the defendant or child; and (5) by use of
17   force, violence, duress, menace, or fear of immediate and
18   unlawful bodily injury on the victim or another person.              See Cal.
19   Penal Code § 288(b)(1); Brown v. Superior Court, 187 Cal. App.
20   4th 1511, 1531 (2d Dist. 2010) (identifying similar elements);
21   see also United States v. Castro, 607 F.3d 566, 568 (9th Cir.
22   2010) (identifying similar elements for a related provision,
23   Section 288(c)(1)).     Whether Cal. Penal Code § 288(b)(1)
24   constitutes a CIMT under 8 U.S.C. § 1182(a)(2)(A) is a matter of
25   first impression.
26               Before proceeding to the second step of the categorical
27   approach, the court observes that the Ninth Circuit has applied
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 1   the categorical approach to a very similar offense.          In Menendez

 2   v. Whitaker, 908 F.3d 467 (9th Cir. 2018), the Ninth Circuit

 3   determined whether a related provision that criminalizes lewd or

 4   lascivious conduct upon a fourteen or fifteen year old child,

 5   Cal. Penal Code § 288(c)(1),3 is categorically a CIMT.          Like

 6   Section 288(b)(1), Section 288(c)(1) references and borrows

 7   elements from Section 288(a).       When analyzing the elements from

 8   Section 288(a), the Ninth Circuit observed that both the actus

 9   reus requirement and the mens rea requirement have been

10   expansively construed by California courts.         See id. at 472.     For

11   instance, “[t]he ‘lewd or lascivious’ element of the crime

12   focuses on the defendant’s sexual intent,” so any touching, “even

13   if the touching is outwardly innocuous and inoffensive,” violates

14   Section 288.    Id. (quoting People v. Lopez, 19 Cal. 4th 282, 289

15   (1998)).    In fact, even constructive touching alone, that is

16   touching in which the defendant induces the victim to touch

17   themselves or another, violates this section.         See id. (citing

18   People v. Villagran, 5 Cal. App. 5th 880, 890 (1st Dist. 2016);

19   People v. Lopez, 185 Cal. App. 4th 1220, 1229 (4th Dist. 2010)

20   (“[A] defendant need not touch the victim in order to violate
21         3     Section 288(c)(1) provides that:
22
           Any person who commits an act described in subdivision
23         (a) with the intent described in that subdivision, and
           the victim is a child of 14 or 15 years, and that
24         person is at least 10 years older than the child, is
           guilty of a public offense and shall be punished by
25         imprisonment in the state prison for one, two, or
26         three years, or by imprisonment in a county jail for
           not more than one year. In determining whether the
27         person is at least 10 years older than the child, the
           difference in age shall be measured from the birth
28         date of the person to the birth date of the child.
                                      12
     Case 2:18-cv-00399-WBS-AC Document 32 Filed 04/16/19 Page 13 of 25

 1   section 288.”)).     With respect to the mens rea requirement, the

 2   intent of arousing, appealing to, or gratifying the lust,

 3   passions or sexual desires of the defendant or child, the panel

 4   noted that “the statute does not require that the defendant know

 5   that the minor is underage” and “a good faith and reasonable

 6   mistake of age . . . is not a defense to a charge.”          Id. (citing

 7   People v. Olsen, 36 Cal. 3d 638, 647 (1984)).

 8               After making these observations, the Ninth Circuit

 9   considered whether Section 288(c)(1) is broader than the federal

10   generic definition of a CIMT.       First, the panel concluded that

11   the statute “lacks the corrupt scienter requirement that is the

12   touchstone of moral turpitude” because the statute requires only

13   sexual intent without a defense for good-faith reasonable mistake

14   of age.    See id. at 473 (citations and internal quotation marks

15   omitted).     Second, the panel held that Section 288(c)(1) does not

16   require any “intent to injure” or “actual injury” because any

17   touching, even consensual touching, can violate this subdivision.

18   Id.   Third, and finally, the panel applied past Ninth Circuit

19   precedent and found that Section 288(c)(1) did not qualify as a

20   CIMT, even though it dealt with a protected class of victims.
21   See id. 473-74.     The panel found that Section 288(c)(1) was not

22   like other sex-related crimes involving moral turpitude.             See id.

23   Given these conclusions, the Ninth Circuit held that Section

24   288(c)(1) is not categorically a CIMT.        Id. at 474.

25               Because Section 288(b)(1) also borrows many of its

26   elements from Section 288(a), the Menendez court’s observations
27   about its actus reus and mens rea requirements apply with equal

28   force here.     There are, however, two relevant differences between
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 1   Section 288(b)(1) and Section 288(c)(1).         First, Section

 2   288(b)(1) slightly modifies the actus reus requirement because it

 3   adds the element that the defendant commits the proscribed act

 4   “by use of force, violence, duress, menace, or fear of immediate

 5   and unlawful bodily injury on the victim or another person.”

 6   Second, Section 288(b)(1) covers minor-victims under the age of

 7   14 years while Section 288(c)(1) covers only 14 or 15 year old

 8   minor-victims.     Following the lead of the Ninth Circuit in

 9   Menendez, this court will proceed to the second step of the

10   categorical approach as applied to Section 288(b)(1).

11               Nothing within Section 288(b)(1) requires a defendant

12   to have an “evil or malicious intent.”        Like Section 288(c)(1),

13   this subsection requires only sexual intent and does not

14   recognize a defense for good-faith reasonable mistake of age.

15   See Menendez, 908 F.3d at 473; see also People v. Soto, 51 Cal.

16   4th 229, 248 n.11 (2011) (“[W]e refused to extend Hernandez's

17   mistake-of-age defense to section 288.”).         The California Supreme

18   Court has also made it clear that the consent of the victim is

19   not a defense to this crime.       See Soto, 51 Cal. 4th at 248

20   (“Honoring the clear legislative intent expressed in the plain
21   language of section 288(b)(1), we hold that consent of the victim

22   is not a defense to the crime of aggravated lewd conduct on a

23   child under age 14.”).      Because Section 288(b)(1) thus lacks the

24   appropriate showing of scienter, it lacks the requisite element

25   of willfulness or evil intent as is required for a CIMT.             See

26   Quintero-Salazar v. Keisler, 506 F.3d 688, 694 (9th Cir. 2007).
27               Even with the modifications to the actus reus

28   requirement, a defendant convicted under Section 288(b)(1) need
                                          14
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 1   not actually injure or intend to injure another person.              For

 2   instance, the force identified in this subsection includes any

 3   physical force “substantially different from or substantially in

 4   excess of that required for the lewd act.”4         People v. Senior, 3

 5   Cal. App. 4th 765, 774 (6th Dist. 1992).         This level of force may

 6   simply amount to the defendant manipulating the victim’s hand as

 7   a tool to rub his own genitals.       See People v. Babcock, 14 Cal.

 8   App. 4th 383, 386 (1st Dist. 1993).        It also includes slightly

 9   pulling the victim’s head forward before forcing the victim to

10   perform an act of oral copulation.        See People v. Mendibles, 199

11   Cal. App. 3d 1277, 1307 (2d Dist. 1988), disapproved of on other

12   grounds by Soto, 51 Cal. 4th 229.        Where even minor contact with

13   the victim supports conviction and nothing within the elements of

14   the conviction requires any proof of actual harm or an intent to

15   injure, Section 288(b)(1) does not categorically match these

16   aspects of the federal generic definition of a CIMT.           See

17   Castrijon-Garcia v. Holder, 704 F.3d 1205, 1214 (9th Cir. 2013)

18   (concluding that simple kidnapping, California Penal Code §

19   207(a), does not categorically match the generic definition of a

20   CIMT because it does not require the intent to cause injury or
21   actual injury within its elements).

22               The court does note that Section 288(b)(1) involves a

23   protected class of victims: minors under the age of 14.              See

24   Nunez v. Holder, 594 F.3d 1124, 1131 n.4 (9th Cir. 2010)

25   (defining children as a protected class of victims).          But, as the

26
27         4   This definition of force also applies to the version of
     Section 288 that was in effect at the time of defendant’s
28   conviction. See Soto, 51 Cal. 4th at 236.
                                     15
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 1   Ninth Circuit made clear in Menendez, “not all criminal statutes

 2   intended to protect minors establish crimes involving moral

 3   turpitude.”    908 F.3d at 473; see also Hernandez-Cruz v. Attorney

 4   Gen. of U.S., 764 F.3d 281, 286 (3d Cir. 2014) (holding that a

 5   conviction under Pennsylvania’s child endangerment statute does

 6   not constitute a CIMT).      In reaching this conclusion with respect

 7   to Section 288(c)(1), the Menendez panel relied on the Ninth

 8   Circuit’s decision in Nicanor-Romero v. Mukasey, 523 F.3d 992

 9   (9th Cir. 2008), overruled on other grounds by Marmolejo-Campos

10   v. Holder, 558 F.3d 903 (9th Cir. 2009).         In Nicanor-Romero, the

11   Ninth Circuit held that a misdemeanor conviction under the

12   California statute prohibiting annoying or molesting any child

13   under the age of 18 did not constitute a CIMT since the actus

14   reus component is satisfied “by relatively minor conduct,” 523

15   F.3d at 1000, and “a good faith but ‘unreasonable’ mistaken

16   belief that the victim is eighteen or older still satisfies the

17   [statute’s] mens rea requirement,” id. at 1001.

18               Like Section 288(c)(1), Section 288(b)(1) is similar to

19   the statute at issue in Nicanor-Romero.          Relatively minor conduct

20   satisfies the actus reus element for a conviction under Section
21   288(b)(1).    “‘[A]cts of grabbing, holding and restraining that

22   occur in conjunction with the lewd acts themselves’ are

23   sufficient to support a finding that the lewd act was committed

24   by means of force.”     People v. Garcia, 247 Cal. App. 4th 1013,

25   1024 (6th Dist. 2016) (quoting People v. Alvarez, 178 Cal. App.

26   4th 999, 1005 (4th Dist. 2009)).          Likewise, as explained
27   previously, the statute does not recognize a mistake-of-age

28   defense and requires only sexual intent.          See also Castrijon-
                                          16
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 1   Garcia, 704 F.3d at 1214 (acknowledging the importance of a

 2   culpable mental state in determining whether a crime is a CIMT).

 3   Because Section 288(b)(1) shares these similarities with the

 4   statute at issue in Nicanor-Romero, its elements “create[] a

 5   ‘reasonable probability’ of a conviction based on conduct that

 6   did not involve moral turpitude.”        See Menendez, 908 F.3d at 473

 7   (citing Nicanor-Romero, 523 F.3d at 1007).5

 8               Since there is no categorical match between Section

 9   288(b)(1) and the generic federal offense, the court must next

10   determine whether Section 288(b)(1) is divisible and, if so,

11   apply the modified categorical approach.         See Almanza-Arenas v.

12   Lynch, 815 F.3d 469, 476 (9th Cir. 2016) (en banc).          “[A] statute

13   is divisible only when it ‘list[s] elements in the alternative,

14   and thereby define[s] multiple crimes.’”         United States v.

15   Martinez-Lopez, 864 F.3d 1034, 1039 (9th Cir. 2017) (en banc)

16   (quoting Mathis v. United States, 136 S.Ct. 2243, 2249 (2016)).

17   In making this determination, the court must “consult

18   ‘authoritative sources of state law’ to determine whether a

19   statute contains alternative elements defining multiple crimes or

20   alternative means by which a defendant might commit the same
21   crime.”    Id. (citing Mathis, 136 S.Ct. at 2256).        If those

22   sources do not provide a definitive answer, the court may look at

23   record material or persuasive authority on California law.           See

24   id.

25         5   Like Section 288(c)(1), Section 288(b)(1) is not
26   similar to other sex-related CIMTs. See id. at 473-74 (observing
     that previous sex-related crimes deemed categorically to involve
27   moral turpitude include incest, knowing possession of child
     pornography, and communication with a minor for immoral
28   purposes).
                                     17
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 1               Based on this analysis, the court finds that Section

 2   288(b)(1) is not divisible.       Even though Section 288(b)(1) states

 3   that the crime must be committed “by force, violence, duress,

 4   menace, or fear of immediate and unlawful bodily injury,” the

 5   court cannot assume that the statute lists alternative elements

 6   and defines multiple crimes simply because it contains a

 7   disjunctive list.     Id. (citing Mathis, 136 S.Ct. at 2249).

 8   Instead, relevant state decisional law treats these various

 9   alternatives as different means of satisfying the same element.6

10   See Brown, 187 Cal. App. 4th at 1531 (listing “by force,

11   violence, menace, or fear of immediate and unlawful bodily

12   injury” as part of the same element).        Nothing within the statute

13   or the California form jury instructions requires a jury to agree

14   on a specific method enumerated within this subdivision.             See

15   Judicial Council of California Jury Instructions (CALCRIM) 1111;

16   Martinez-Lopez, 864 F.3d at 1041 (finding the California Criminal

17   Jury Instructions to be persuasive authority on California law);

18   see also Soto, 51 Cal. 4th at 236 (“The prosecutor explained,

19   with regard to the statutory factors of force, violence, duress,

20   menace, and fear: ‘You don’t have to find all of them, just one
21   of them is enough.     It’s also enough if some jurors find force

22

23         6   The government claims that the California Supreme Court
     has spoken on this issue and classified “duress” as a distinct
24   element of Section 288(b)(1). See People v. Leal, 33 Cal. 4th
     999, 1004 (2004). While Leal refers to duress as an element of
25   Section 288(b)(1), the Court did so in passing and did not claim
26   to define each disjunct in Section 288(b)(1) as individual
     elements distinct from each other. Instead, Leal distinguished
27   duress as used in Section 288(b)(1) from the defense of duress.
     Id. at 1009. Therefore, nothing in Leal requires this court to
28   find this statute divisible.
                                     18
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 1   and some jurors find duress, but you all must unanimously agree

 2   that it was accomplished [by one or the other].’”).          Because

 3   “[the] jury could return a conviction without agreeing on which

 4   particular statutory alternative applied, [] the statute is

 5   indivisible.”     United States v. Robinson, 869 F.3d 933, 938 (9th

 6   Cir. 2017) (emphasis in original) (citing Mathis, 136 S.Ct. at

 7   2248-50).    Therefore, the court cannot apply the modified

 8   categorical approach.

 9               Accordingly, as heinous as the crime is, under the law

10   as established by the Ninth Circuit, which is binding upon this

11   court, the court must conclude that Cal. Penal Code 288(b)(1)

12   does not categorically constitute a CIMT.

13               2.    Count Two: Other Unlawful Acts

14               Pursuant to its authority under the catch-all provision

15   of Section 101(f), the government promulgated 8 C.F.R. § 316.10.

16   See United States v. Teng Jiao Zhou, 815 F.3d 639, 643 (9th Cir.

17   2016).   This regulation, which offers guidance on making moral

18   character determinations, states that an individual lacks the

19   requisite good moral character “if during the statutory period,

20   the applicant: . . . [c]ommitted unlawful acts that adversely
21   reflect upon the applicant's moral character, or was convicted or

22   imprisoned for such acts.”       8 C.F.R. § 316.10(b)(3)(iii).       The

23   Ninth Circuit has stated that a naturalized citizen may be

24   denaturalized under this regulation for pre-naturalization

25   conduct that was not discovered or proven until after

26   naturalization.     Teng Jiao Zhou, 815 F.3d at 643.
27               Defendant’s only argument against this count is that it

28   should be dismissed because the main evidentiary basis is
                                          19
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 1   defendant’s inadmissible nolo contendere plea and accompanying

 2   conviction.     However, on a motion to dismiss, the court can

 3   consider all relevant factual allegations, even those which might

 4   be based on inadmissible evidence.        No case law has “altered the

 5   rule that a plaintiff need not plead specific, admissible

 6   evidence in support of a claim, and a contrary rule would confuse

 7   the principles applicable to a motion to dismiss with those

 8   governing a motion for summary judgment.”         Campanella v. Cty. of

 9   Monroe, 853 F. Supp. 2d 364, 378 (W.D.N.Y. 2012) (citations

10   omitted).

11               Moreover, for the purposes of this regulation, an

12   applicant need not be convicted of the alleged offense to lack

13   good moral character.      See United States v. Dang, 488 F.3d 1135,

14   1141 (9th Cir. 2007) (“[R]equiring consideration of an

15   applicant’s unlawful acts during the five-year moral character

16   period--whether or not the applicant is convicted for the acts

17   during that period--is not beyond the agency’s statutory

18   mandate.”).     It is sufficient that the alleged offense was

19   committed during the statutory period specified in 8 U.S.C. §

20   1427(a).    See United States v. Suarez, 664 F.3d 655, 661 (7th
21   Cir. 2011) (“[A] conviction during the statutory period is not

22   necessary for a finding that an applicant lacks good moral

23   character.    It is enough that the offense was ‘committed’ during

24   that time.”).

25               It is sufficiently alleged that the offense took place

26   in the five years immediately preceding the date of filing his
27   application.     See 8 U.S.C. § 1427(a) (stating that “the five

28   years immediately preceding the date of filing [the] application”
                                          20
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 1   is a good moral character period).        Defendant applied for

 2   naturalization in 2013 and allegedly committed the offending

 3   conduct starting in 2011.

 4               Accordingly, the inadmissibility of the plea and

 5   resulting conviction is not an appropriate basis for the court to

 6   dismiss Count Two.

 7               3.     Count Three: False Testimony

 8               Under Section 101(f)(6) of the INA, a person lacks good

 9   moral character if he “has given false testimony for the purpose

10   of obtaining any benefits under this chapter.”          8 U.S.C. §

11   1101(f)(6).      Testimony is limited to oral statements made under

12   oath, and the witness must have had the subjective intent to

13   deceive in order to receive immigration benefits.          Ramos v.

14   I.N.S., 246 F.3d 1264, 1266 (9th Cir. 2001) (citing Kungys v.

15   United States, 485 U.S. 759, 780 (1988)).         There is no

16   requirement that the false testimony concern material facts.           See

17   Kungys, 485 U.S. at 779-82.

18               Defendant first argues that Count Three should be

19   dismissed because the government has failed to establish a

20   factual basis for the requisite subjective intent.          The
21   government’s complaint describes the circumstances surrounding

22   defendant’s naturalization interview.        During his conversation

23   with the USCIS officer, defendant represented that he had not

24   committed a crime or offense for which he had not been arrested,

25   and he never disclosed his sexual abuse of a minor.          (Compl. ¶

26   20-25.)    While the complaint merely asserts that defendant
27   provided this allegedly false testimony to obtain an immigration

28   benefit, a factfinder may infer such a subjective intent “where a
                                          21
     Case 2:18-cv-00399-WBS-AC Document 32 Filed 04/16/19 Page 22 of 25

 1   true answer might have jeopardized a naturalization application.”

 2   See Usude v. Luna, No. CV 15-00301-AB (SSX), 2018 WL 522250, at

 3   *6 (C.D. Cal. Jan. 23, 2018) (collecting cases).          Here, accepting

 4   all allegations as true, a true answer could have jeopardized

 5   defendant’s naturalization application.         Defendant’s

 6   naturalization interview occurred almost immediately prior to

 7   USCIS’ approval of his application.        Admitting that he had

 8   sexually abused a child at such a late point in the process may

 9   have precluded a finding of good moral character and thus

10   jeopardized his entire application.        See 8 U.S.C. § 1101(f); 8

11   C.F.R. § 316.10(b)(3)(iii).

12               Accordingly, although there may have been other reasons

13   for defendant’s failure to disclose his prior conduct, at least

14   on the basis of the record before the court on this motion, a

15   factfinder could conclude that defendant provided false testimony

16   in order to prevent further inquiry into an alleged offense that

17   no immigration official was aware of at the time and that

18   defendant therefore possessed the requisite subjective intent.

19               Defendant also urges the court to dismiss Count Three

20   because it too relies on the inadmissible nolo contendere plea
21   and resulting conviction.      For the reasons discussed above, this

22   argument fails at this stage of the proceedings.          Count Three

23   also does not depend on proof of defendant’s conviction.

24   Instead, it simply requires proof that defendant lied during his

25   naturalization interview about the conduct underlying his Cal.

26   Penal Code § 288(b)(1) conviction.        The government stated that it
27   is prepared to prove the existence of the underlying conduct via

28   direct evidence.
                                          22
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 1               4.    Count Four: Misrepresentation or Concealment

 2               As noted above, 8 U.S.C. § 1451(a) provides for the

 3   denaturalization of citizens whose citizenship orders and

 4   certificates of naturalization “were procured by concealment of a

 5   material fact or by willful misrepresentation.”          This provision

 6   “contains four independent requirements: [1] the naturalized

 7   citizen must have misrepresented or concealed some fact, [2] the

 8   misrepresentation or concealment must have been willful, [3] the

 9   fact must have been material, and [4] the naturalized citizen

10   must have procured citizenship as a result of the

11   misrepresentation or concealment.”        Kungys, 485 U.S. at 767.

12               A misrepresentation or concealment of a material fact

13   is done willfully if it was done deliberately and voluntarily.

14   See Espinoza-Espinoza v. Immigration & Naturalization Serv., 554

15   F.2d 921, 925 (9th Cir. 1977).       “[T]he test of whether

16   concealments or misrepresentations were material is whether they

17   had a natural tendency to influence the decisions of [INS].”

18   Kungys, 485 U.S. at 772.      Proof of a material misrepresentation

19   creates a rebuttable presumption of ineligibility for citizenship

20   that arises whenever “the Government produces evidence sufficient
21   to raise a fair inference that a statutory disqualifying fact

22   actually existed.”     Id. at 783 (Brennan, J., concurring); see

23   United States v. Puerta, 982 F.2d 1297, 1304 (9th Cir. 1992)

24   (concluding that Justice Brennan’s concurrence controls as the

25   narrowest grounds).     Under this framework, the government

26   satisfies Section 1451(a)’s “procured by” requirement “if it
27   produces evidence making it fair to infer the existence of some

28   disqualifying fact.”      See United States v. Nguyen, 829 F.3d 907,
                                          23
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 1   916 (8th Cir. 2016) (citing Kungys, 485 U.S. at 776-77).             A

 2   naturalized individual may rebut this presumption “by showing,

 3   through a preponderance of the evidence, that the statutory

 4   requirement as to which the misrepresentation had a natural

 5   tendency to produce a favorable decision was in fact met.”

 6   Kungys, 485 U.S. at 777.

 7               For the purposes of a motion to dismiss, the

 8   government’s complaint satisfies these four independent

 9   requirements.     First, the government alleges that defendant

10   misrepresented and concealed his sexual abuse of a child.

11   (Compl. ¶ 76.)     Second, the government avers that that defendant

12   did so voluntarily and deliberately when he stated that he had

13   not committed any crime for which he had not been arrested,

14   despite knowing that such a representation was false.           (Compl. ¶

15   76.)   Third, Exhibit A to the government’s complaint, the

16   affidavit of good cause submitted by Immigration and Customs

17   Enforcement Special Agent Ky Bach, states that the criminal

18   conduct was material because it would have had the natural

19   tendency to influence USCIS in its decision whether to approve

20   defendant’s application.      (Compl. Ex. A at 9.)      Fourth, and
21   finally, that same affidavit also asserts that concealing and

22   misrepresenting the underlying criminal conduct affected the

23   final naturalization decision as USCIS would not have approved

24   defendant’s application otherwise.        (Id.)

25               Accordingly, the motion to dismiss Count Four must be

26   denied.    While the government’s allegations are sufficient to
27   survive a motion to dismiss, defendant will not be precluded from

28   presenting evidence on summary judgment or at trial, particularly
                                          24
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 1   on the issue of willfulness.       Whether the broad scope of the

 2   questions asked to defendant during the naturalization process

 3   would have reasonably called for a confession to the crimes of

 4   which defendant was subsequently convicted, and motivation for

 5   his failure to reveal such conduct are certainly proper subjects

 6   for later inquiry.7

 7               IT IS THEREFORE ORDERED that defendant’s Motion to

 8   Dismiss (Docket No. 20) be, and the same hereby is, GRANTED IN

 9   PART.     Count One of the government’s complaint is DISMISSED.      The

10   motion is DENIED in all other respects.

11   Dated:    April 16, 2019

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24         7   Defendant also urges the court to dismiss this count
     because it too relies on the inadmissible nolo contendere plea
25   and resulting conviction. For the reasons given above, this
     argument fails. Count Four does not depend on proof of
26   defendant’s conviction. Instead, like Count Three, it simply
     requires proof that defendant misrepresented or concealed the
27   underlying conduct of the Cal. Penal Code § 288(b)(1) conviction.
     The government maintains that it is prepared to prove the
28   underlying conduct with direct evidence.
                                     25
